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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


IN THE MATTER OF THE ARREST OF                        )
JAMES RAMIREZ AND JOSE SOLIVAN                        ) Case No.: 17-MC-6195-MPK
                                                      )
                                                      )


                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


        I, Marc Powell, Task Force Officer ("TFO"), Drug Enforcement Administration

 ("DBA"), United States Department of Justice, being duly sworn, state under oath as follows:

    A. Introduction

        1.      I am a "federal law enforcement officer" within the meaning of Federal Rule of

 Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

 laws and duly authorized by the Attorney General to sign a criminal complaint.

        2.      I am a Massachusetts State Police ("MSP") Trooper and have been so since my

 graduation from the State Police Academy in New Braintree, Massachusetts, in April of 2005. I

 am currently assigned to the Cape and Islands District Attorney's Office/Cape Cod Narcotics

 Task Force, where I am also a full-time Task Force Officer ("TFO") at the Drug Enforcement

 Agency ("DEA")/Cape Cod Task Force. Prior to my current assignment, I was a Trooper in the

 South Yarmouth, Dartmouth, and Bourne Barracks.

        3.      I have been in the Detective Unit for approximately 8 years. I have assisted,

 initiated, and/or participated in numerous narcotics investigations that have led to arrests and

 convictions for violation of Massachusetts drug laws and seizure of drugs, firearms, and assets. I

 have received training from the Massachusetts State Police in criminal investigations, including

 narcotics investigations. I have also attended training conducted by the New England Narcotics

 Enforcement Officers Association. I have also received training at several seminars for homicide
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